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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
HANAN M. OHAYON,                                                                 10/19/20

              Plaintiff,                              19-CV-11118 (LJL) (BCM)
      -against-
                                                      ORDER
MICHELINE S. AMY,
              Defendant.

BARBARA MOSES, United States Magistrate Judge.

      For the reasons discussed during today's telephonic status conference, the parties'

discovery schedule is hereby EXTENDED as follows:

   1. Fact discovery shall be completed no later than November 16, 2020. Plaintiff need not
      attend a second physical examination.

   2. All discovery shall be completed no later than January 5, 2021.

   3. Summary judgment motions, if any, shall be filed no later than February 5, 2021.
      Motions shall conform to the individual practices of the Hon. Lewis J. Liman, United
      States District Judge, unless the parties have by then consented to the jurisdiction of the
      assigned Magistrate Judge.

Dated: New York, New York
       October 19, 2020                     SO ORDERED.



                                            ________________________________
                                            BARBARA MOSES
                                            United States Magistrate Judge
